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                    9   Attorneys for Defendant and Third-Party Plaintiff
                        REACH MEDIA GROUP, LLC
                   10

                   11                               UNITED STATES DISTRICT COURT

                   12                              NORTHERN DISTRICT OF CALIFORNIA

                   13                                          SAN JOSE DIVISION

                   14
                        DAVID TRINDADE, individually and on            CASE NO 5:12-CV-04759 (PSG)
                   15   behalf of all others similarly situated,

                   16                 Plaintiff,                       CLASS ACTION

                   17          v.                                      UNOPPOSED MOTION AND
                                                                       [PROPOSED] ORDER TO EXTEND TIME
                   18   REACH MEDIA GROUP, LLC, a                      TO AMEND THIRD-PARTY COMPLAINT
                        Delaware limited liability company,            AND SERVE THIRD-PARTY
                   19                                                  DEFENDANT EAGLE WEB ASSETS INC.
                                      Defendant.
                   20                                                  [Fed. R. Civ. Proc. 6(b)(1)(A)]
                        REACH MEDIA GROUP, LLC, a                      Judge: Honorable Paul Singh Grewal
                   21   Delaware limited liability company,            Department: Courtroom 5
                   22                                                  Complaint Filed: Sept. 12, 2012
                                      Third-Party Plaintiff,           Third-Party Complaint Filed: Nov. 15, 2012
                   23          v.
                   24   RYAN LENAHAN, individually, KYLE
                        DANNA, individually, and EAGLE WEB
                   25   ASSETS INC., a corporation,
                   26                 Third-Party Defendants.
                   27

                   28
DLA PIPER LLP (US)
   SAN FRANCISCO
                                                   UNOPPOSED MOTION AND PROPOSED ORDER FOR EXTENSION OF TIME
                                                                                    CASE NO. 5:12-CV-04759 (PSG)
                    1          Defendant and Third-Party Plaintiff Reach Media Group, LLC ("RMG"), by and through

                    2   its undersigned attorneys, respectfully requests that this Court extend (1) the 14-day deadline set

                    3   in this Court's July 31,2013 Order Denying Third-Party Defendants' Motion to Strike and

                    4   Granting-in-Part Motion to Dismiss ("Motion to Dismiss Order") to file any amended Third-Party

                    5   Complaint and (2) the 14-day deadline set in this Court's February 7, 2013 Order to Extend Time

                    6   for Service of any amended Third-Party Complaint on Third-Party Defendant Eagle Web Assets

                    7   Inc. ("EWA") following entry of the July 31, 2013 Motion to Dismiss Order. Plaintiff David

                    8   Trindade ("Plaintiff'), and Third-Party Defendants Ryan Lenahan ("Lenahan") and Kyle Danna

                    9   ("Danna") (collectively, the "Parties"), do not oppose this motion. (See Declaration ofVishali

                   10   Singal, Esq. in Support of Motion to Extend Time to Amend Third-Party Complaint and Serve

                   11   Third-Party Defendant Eagle Web Assets Inc. ("Singal DecI."), ~ 13.)

                   12   I.     Relevant Statement of Facts
                   13          a.      Procedural Facts

                   14          RMG filed a Third-Party Complaint in this matter on November 15, 2012 against Third-

                   15   Party Defendants Ryan Lenahan, Kyle Danna, and EW A. (Dkt. #22.) RMG completed timely

                   16   service of process on Lenahan and Danna but encountered difficulty serving EW A with the

                   17   Third-Party Complaint. (Singal Decl., ~ 2.)

                   18          During the Initial Case Management Conference ("CMC") in this matter on January 8,

                   19   2013, counsel appearing on behalf ofRMG, Vishali Singal, Esq., informed this Court that as of

                   20   January 8, 2013, RMG had encountered difficulty serving EWA with the Third-Party Complaint.

                   21   (Singal Decl., ~ 3.) Ms. Singal further informed this Court that RMG likely required an

                   22   additional month to effectuate service on EWA ofthe Third-Party Complaint. (Singal Decl., ~ 3.)

                   23   Subsequently, during the CMC, this Court set a 30-day deadline for RMG to serve EWA with the

                   24   Third-Party Complaint, reflected in the Civil Minute Order of the same date. (Dkt. #37.) That

                   25   deadline corresponded with the date February 7, 2013.

                   26          On or about January 10, 2013, Ms. Singal instructed Keith Nesbit, legal assistant at DLA

                   27   Piper LLP (US), to research addresses to serve process on EWA's Vice President of Accounting

                   28   or Vice President of Human Resources and onc~~~entified, to authorize a process server to
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                                                                            UNOPPOSED MOTION FOR EXTENSION OF TIME
                                                                                          CASE NO. 5:12-CV-04759 (PSG)
                    1   attempt service at the identified address(es). (Singal Decl., ,-r 4.) Ms. Singallearned on or about

                    2   January 10, 2013 that Mr. Nesbit located an address online that appeared to be associated with

                    3   Savy Lam, identified on EW A's website on January 10, 2013 as Vice President of Accounting.

                    4   (Singal Decl., ,-r 4, Dkt. #53-2.) As a result, Ms. Singal instructed Mr. Nesbit to authorize a

                    5   process server to attempt service of the Third-Party Complaint at that address. (Singal Decl., ,-r 4.)

                    6          One day later, on Friday, January 11, 2013, RMG was electronically served through this

                    7   Court's Electronic Case Filing system with Third-Party Defendants Lehanan's and Danna's

                    8   Notice of Motion and Motion to Strike And/Or Dismiss Third-Party Complaint and Memorandum

                    9   of Points and Authorities In Support Thereof ("Motion"). (Dkt. #38.) The Notice of Motion to

                   10   Strike And/Or Dismiss Third-Party Complaint ("Notice of Motion") specified a hearing date of

                   11   February 26, 2013. (Dkt. #38.)

                   12          Subsequently, on or about January 16, 2013, Ms. Singal learned that the process server

                   13   had unsuccessfully attempted service ofthe Third-Party Complaint on January 14, 2013 at the

                   14   address associated with Ms. Lam. (Singal Decl., ,-r 7.) In the meantime, RMG's counsel had

                   15   reviewed the Motion, and in light of its content, shifted their focus to preparing an opposition

                   16   brief to the Motion and considering the implications ofthe Motion on allegations and counts

                   17   stated in the Third-Party Complaint as to EW A. (Singal Decl., ,-r 6.) On or about January 22,

                   18   2013, Ms. Singal instructed Mr. Nesbit to obtain a background report for Mr. Eagle, to identify

                   19   additional addresses at which to attempt service of the Third-Party Complaint on EWA, and on or

                   20   about January 24, 2013, Ms. Singal received that background report. (Singal Decl., ,-r 8.)

                   21          On January 25, 2013, this Court reset the February 26, 2013 hearing on the Motion to

                   22   March 12, 2013. (Dkt. #45.)

                   23          On or about February 5, 2013, the Parties stipulated to RMG's requested extension to

                   24   serve EWA with the Third-Party Complaint or an amended Third-Party Complaint of 14 days

                   25   from the date this Court issued its order on the Motion, or such other date and time thereafter as

                   26   the Court ordered, on the grounds that because the Third-Party Complaint asserts common

                   27   allegations and two causes of action against all three Third-Party Defendants, including EWA,

                   28   and that those allegations and causes of action ~~:e the subject of the Motion, RMG sought to
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                                                                             UNOPPOSED MOTION FOR EXTENSION OF TIME
                                                                                           CASE NO. 5:12-CV-04759 (PSG)
                    1   await the outcome of the Motion in determining how it affected the content of the Third-Party

                    2   Complaint as to EWA and the decision to proceed against EWA. (Singal Decl., ~ 9, Dkt. #53-1.)

                    3          On February 7, 2013, this Court entered an Order to Extend Time for Service of any

                    4   amended Third-Party Complaint on Third-Party Defendant EW A in this matter by 14 days

                    5   following the date this Court issued its order on the Motion ("Motion to Dismiss Order"). (Dkt. #

                    6   54.)

                    7          On March 12, 2013, this Court heard oral arguments on the Motion. (Dkt. #62.)

                    8          On July 31, 2013, this Court issued and entered the Motion to Dismiss Order, in which it

                    9   required that RMG file any amended Third-Party Complaint within 14 days of the date of the

                   10   Motion to Dismiss Order, which corresponds with the date August 14,2013. (Dkt. #64.)

                   11          Based on this Court's February 7, 2013 and July 31, 2013 orders, August 14, 2013 is the

                   12   deadline by which RMG must file any amended Third-Party Complaint and serve Third-Party

                   13   Defendant EWA with it ifEWA is still named as a Third-Party Defendant.

                   14          b.      RMG's Financial Condition

                   15          At the present time, RMG is encountering severe financial difficulties. (Singal Decl., ~

                   16   12.) As a result ofRMG's weak financial condition, RMG is evaluating its available options to

                   17   address its financing and operating challenges. (Singal Decl., ~ 12.)

                   18   II.    Argument
                   19          Under FRCP 6, where an act "may or must be done within a specified time, the court may,

                   20   for good cause, extend the time [] with or without motion or notice if the court acts, or if a request

                   21   is made, before the original time or its extension expires." FRCP 6(b)(l)(A). Here, RMG

                   22   respectfully submits a request for a 30-day extension of time to both file an amended Third-Party

                   23   Complaint and serve EWA with the amended Third-Party Complaint, before the deadline set by

                   24   this Court of August 14, 2013 to do so.

                   25           RMG requests a 30-day extension of time on the grounds that it requires this period of

                   26   time to fully evaluate its available options to address its financing and operating challenges. This

                   27   Court's resources, along with both existing and currently absent parties, will be conserved, which

                   28   otherwise might be expended on additional mot~3~ practice in response to an amended Third-
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                                                                             UNOPPOSED MOTION FOR EXTENSION OF TIME
                                                                                           CASE NO.5: 12-CV-04759 (PSG)
                    1   Party Complaint. The conservation of judicial resources and costs on the parties involved is good

                    2   cause for granting this request.

                    3          Accordingly RMG respectfully requests through this motion that this Court extend the

                    4   deadline by which it must amend and serve the Third-Party Complaint to 30 days from August

                    5   14, 2013. The parties appearing in this action will not be prejudiced by this extension of time.

                    6   Plaintiff already propounded discovery requests on RMG and RMG served responses and

                    7   objections to these requests. (Singal Decl., ~~ 5, 10.) Further, this Court ruled on the two pre-

                    8   answer motions filed by Third-Party Defendants Lanahan and Danna, one jointly and the other

                    9   only by Lenahan, on July 31, 2013, and given that RMG has not yet propounded discovery on

                   10   either of them, Third-Party Defendants Lenahan and Danna currently have no discovery

                   11   obligations. (Singal Decl., ~ 11; Dkt. #64.) Further, no trial schedule (or scheduling order) has

                   12   yet been issued for this case. Accordingly, this requested extension of time, the sixth extension of

                   13   time in this matter and the fourth request to this Court for an extension of time by RMG (Singal

                   14   Decl., ~ 14), would have no impact on any such schedule.

                   15   III.   Conclusion

                   16          For all these reasons, RMG respectfully requests that this Court grant Defendant and

                   17   Third-Party PlaintiffRMG's motion to extend time for amending the Third-Party Complaint and

                   18   serving EWA to 30 days following August 14, 2013.

                   19
                        Dated: August 13, 2013                        DLA PIPER LLP (US)
                   20

                   21                                                 By: /s/ Vishali Singal
                                                                         ERIN JANE ILLMAN
                   22                                                    VISHALI SINGAL
                                                                         Attorneys for Defendant and Third-Party
                   23                                                    Plaintiff
                                                                         REACH MEDIA GROUP, LLC
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                                                                        -4-
DLA PIPER LLP (US)
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                                                                              UNOPPOSED MOTION FOR EXTENSION OF TIME
                                                                                            CASE NO. 5:12-CV-04759 (PSG)
                    1                                       [PROPOSED] ORDER

                    2            Good cause appearing therefore, Defendant and Third-Party Plaintiff Reach Media Group,

                    3   LLC's deadline to amend its Third-Party Complaint and serve Third-Party Defendant Eagle Web

                    4                                                                     xxxxxxxxxxxxxxxxxxxxxxxxxxxxx
                        Assets Inc. with the amended Third-Party Complaint is extended to _  _ days from August 14,
                                                                                          September 13, 2013.
                    5   xxxxxx
                        2013.

                    6

                    7            IT IS SO ORDERED.

                    8

                    9            August
                        DATED: _ _ _ _14_ _ _ _ , 2013

                   10
                                                                    By ____________________________
                   11
                                                                       HONORABLE PAUL SINGH GREWAL
                   12                                                  UNITED STATES MAGISTRATE JUDGE

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DLA PiPER LLP (US)
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                                                                              PROPOSED ORDER FOR EXTENSION OF TIME
                                                                                          CASE NO. 5:12-CV-04759 (PSG)
                    1                                            PROOF OF SERVICE

                    2
                                I, Violet Rajkumar, declare:
                    3           I am a citizen of the United States and employed in San Francisco County, California. I
                    4   am over the age of eighteen years and not a party to the within-entitled action. My business

                    5   address is DLA Piper LLP (US), 555 Mission Street, Suite 2400, San Francisco, California
                        94105-2933. On August 13, 2013, I served a copy of the within document(s):
                    6

                    7       UNOPPOSED MOTION AND [PROPOSED] ORDER TO EXTEND TIME TO
                    8   AMEND THIRD-PARTY COMPLAINT AND SERVE THIRD-PARTY DEFENDANT
                        EAGLE WEB ASSETS INC.
                    9

                   10        DECLARATION OF VISHALI SINGAL, ESQ., IN SUPPORT OF UNOPPOSED
                        MOTION TO EXTEND TIME TO AMEND THIRD-PARTY COMPLAINT AND SERVE
                   11   THIRD-PARTY DEFENDANT EAGLE WEB ASSETS INC
                   12
                                           by personally delivering the document(s) listed above to the person(s) at the
                   13          D           address( es) set forth below.

                   14                      By electronic service. I caused the documents to be sent on February 15, 2011 to
                                           the persons at the electronic notification addresses listed on the below Service List.
                   15                      I did not receive, within a reasonable time after the transmission, any electronic
                                           message or other indication that the transmission was unsuccessful.
                   16
                        Benjamin H. Richman              Sean Patrick Reis                        Karl S. Kronenberger
                   17   Rafey S. Balabanian              Edelson McGuire, LLP                     Jeffrey M. Rosenfeld
                        Christopher L. Dore              30021 Tomas Street, Suite 300            Virginia A. Sanderson
                   18                                    Rancho Santa Margarita, CA 92688          150 Post Street
                        Edelson McGuire LLC              949-459-2124                             Suite 520
                   19   350 North LaSalle Street,        Fax: 949-459-2123                        San Francisco, CA 94108
                        Suite 1300                       sreis@edelson. com                       karl@krintemetlaw.com
                   20   Chicago, IL 60654                                                         j eff@krintemetlaw.com
                        312 589-6370                                                              ginny@krintemetlaw.com
                   21   Fax: 312 589-6378
                        brichman@edelson.com
                   22
                        rbalabanian@edelson. com
                   23   cdore~edelson.com


                   24           I declare that I am employed in the office of a member of the bar of this court at whose
                        direction the service was made.
                   25

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DLA PiPER LLP (US)
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